 Case 3:19-cr-30047-RAL Document 14 Filed 03/25/19 Page 1 of 2 PageID #: 39




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             CENTRAL DIVISION


  UNITED STATES OF AMERICA,               cR 19-30047
                      Plaintiff,
                                          REQUEST FOR DISCLOSURE
        VS


  ANDREA CIRCLE BEAR,         a/k/a
  Andrea High Bear,

                      Defendant.


      Pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure, the

United States hereby requests forthwith the opportunity to inspect and copy or

photograph any books, papers, documents, photographs, tangible objects,

copies of portion thereof which are within your possession, custody or control

and which you intend to introduce as evidence in chief at the trial in the above-

captioned matter; as well as the results and reports of physical or mental

examinations and scientific tests or experiments made in connection with this

case or copies thereof which are within your possession or control and which

you intend to introduce as evidence in chief at the trial or which were prepared

by a witness you intend to call at the trial whose testimony would relate to such

results or reports.

      Pursuant to Ruie 26.2 of the Federal Rules of Criminal Procedure, the

United States hereby moves for the production of witnesses' statements for the

defense, and further requests that such statements be provided to the United

States on the Friday before the trial in this matter is to commence.
Case 3:19-cr-30047-RAL Document 14 Filed 03/25/19 Page 2 of 2 PageID #: 40




    Dated this 256 day of March, 2019.

                                         RONALD A. PARSONS, JR,             -,/.
                                         United States Attorn


                                                            /t

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